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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



 CLAUDE V. LEWIS,

                               Plaintiff,          Civil Action No. 1:14-cv-02302(CRK(KNF)

 v.                                                (ECF Case)

 AMERICAN SUGAR REFINING, INC.
 and MEHANDRA RAMPHAL,                             Oral Argument Requested

                               Defendants.




       DEFENDANTS’ AMERICAN SUGAR REFINING, INC. AND MEHANDRA
      RAMPHAL’S MOTION TO BIFURCATE PUNITIVE DAMAGES FROM THE
      LIABILITY AND COMPENSATORY DAMAGES PORTION OF THE TRIAL




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                                 PRELIMINARY STATEMENT

       At the direction of the Court at the final pre-trial conference, Defendants American Sugar

Refining, Inc. (“ASR”) and Mehandra Ramphal (collectively “Defendants”) submit this

Memorandum of Law in support of their motion to bifurcate punitive damages from the liability

and compensatory damages portion of the trial and to preclude Plaintiff from presenting to the jury

any evidence or argument concerning ASR’s financial information (i.e. its size, net worth, revenue,

profitability, or other aspects of its financial condition). Such evidence will infect this jury with

irrelevant evidence that will cause severe and unfair prejudice making a fair trial impossible.

       Plaintiff has not proffered any reason as to why this Court should deviate from the general

rule of bifurcation. Rather, this Court should follow the “preferred method” in this Circuit and

exercise its discretion under Fed. R. Civ. P. 42(b) to prevent the very real prejudice that will result

from the jury hearing testimony on ASR’s financial information during the liability and

compensatory damages phase of the trial. ASR’s financial information has no bearing on ASR’s

liability or the amount of any compensatory damages. The only reason to introduce such evidence

would be to improperly signal to the jury, as was done in the Coleman litigation, that ASR, a large

and profitable company, can afford to and should bear some liability in this matter. As the failure

to bifurcate punitive damages in the Coleman litigation clearly permeated the jury’s decision and

resulted in a $13.4M verdict (including the grossly excessive $1.7M in emotional distress damages

alone), Defendants have presented a compelling reason for the Court to bifurcate in this matter.

                                      LEGAL ARGUMENT

                                               POINT I

       THE COURT SHOULD EXERCISE ITS DISCRETION TO
       BIFURCATE THE TRIAL SUCH THAT PUNITIVE DAMAGES ARE
       ONLY TRIED AFTER A LIABILITY AND COMPENSATORY
       DAMAGES VERDICT.

      Defendants submit that bifurcation is necessary in this case to ensure that ASR’s financial

status does not unduly influence the jury’s determination on liability and compensatory damages.
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      Under Fed. R. Civ. P. 42(b), the Court enjoys the discretion to bifurcate liability and damages

to, among other things, “avoid prejudice.” Courts have recognized that bifurcation under Fed. R.

Civ. P. 42(b) “may be appropriate where, for example, the litigation of the first issue might

eliminate the need to litigate the second issue.” Amato v City of Saratoga Springs, 170 F3d 311,

316 (2d Cir. 1999). While bifurcation of liability and damages is generally the exception to the

rule, where punitive damages are involved, “[t]he preferred method of determining punitive

damages at trial is to delay trial as to the amount of an award of punitive damages until the usual

issues of liability and compensatory damages have been tried, along with the matter of whether

the defendant's conduct warrants any award of punitive damages at all." Dollman v Mast Indus.,

2011 US Dist. LEXIS 99802, at *7 (S.D.N.Y. Sep. 6, 2011)(internal quotations omitted).

      Moreover, “[i]t is undisputed that New York courts and courts of this Circuit have expressed

a preference to bifurcate determinations of the availability and the amount of punitive damages so

that financial information relevant to the latter issue does not unduly influence the former

determination.” TVT Records v. Island Def Jam Music Grp., 257 F. Supp. 2d 737, 746-47

(S.D.N.Y. 2003), citing Brink's Inc. v. City of New York, 717 F.2d 700, 707 (2d Cir. 1983); See

also Rupert v. Sellers, 48 A.D.2d 265, 368 N.Y.S.2d 904, 912 (App. Div. 4th Dep't 1975). The

reason for such rationale is clear – Courts recognize that financial information of a large

corporation has the ability to potentially influence and compromise the jury’s determination on

liability. See Brinks, 717 F.2d at 707 (“permitting unlimited examination before trial of a

defendant as to his wealth "could have unfortunate results" in terms of exerting pressure to

compromise…as a ‘procedural principle,’ evidence of a defendant's wealth cannot be brought out

at trial unless and until the jury has brought in a special verdict that the plaintiff is entitled to

punitive damages”).

      Here, the necessity for bifurcation has been made all the more clear by the verdict in the

Coleman matter. During the course of the Coleman trial, Plaintiff’s counsel questioned ASR’s

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witnesses regarding ASR’s financial information, its annual sales and its status as one of the

world’s largest sugar suppliers. See Trial Transcript attached as Exhibit A to the Certification of

Michael T. Hensley (“Hensley Cert.”) at 477:12 – 478:8(“ASR annual sales were in the billions of

dollars, is that right?”); 749:5-7 (“What did American Sugar do with all of their power, all of their

billions of dollars of resources at their fingertips?”). As a result, the jury thereafter found liability

on the part of ASR, entering a compensatory award of $1.7M based on “garden variety” emotional

distress alone and a punitive damages award of $11.7M. It is not a leap of logic to infer that

evidence of ASR’s financial information played a part in the jury awarding $1.7M for an emotional

distress claim alone.

      The potential for prejudice is only further heightened by the publicity currently resulting

from the Coleman litigation. The jury’s verdict, and specifically the amount of the jury award, has

been prolifically publicized. See Representative Example of the News Coverage of the Coleman

Verdict attached as Exhibit B to the Hensley Cert. Indeed, Plaintiff’s counsel, Gabrielle Vinci,

retweeted the official Time’s Up Twitter Account’s (which Twitter account has approximately

68,000 followers) announcement of the verdict. See Plaintiff’s Counsel’s Retweet attached to the

Hensley Cert. as Exhibit C. It will already be difficult for Defendants to have a fair trial in this

case due to the publicity of the Coleman verdict. Should a juror fail to follow the Court’s

instructions on non-research and search for either ASR or Plaintiff’s counsel, that juror would be

one Google search away from learning that ASR had just this month been found liable in another

litigation and that the jury awarded a $13.4M verdict (including $11.7M in punitive damages).

      That publicity, combined with Plaintiff’s counsel’s prior questioning in Coleman and the

inherent unfairness that results from referencing a defendant’s financial information prior to a

finding of liability clearly warrants bifurcation in this case. The sole factor that weighs in favor

of non-bifurcation is efficiency, but that factor undoubtedly is outweighed by the very real

prejudice that Defendants will face by introduction of the referenced evidence. That efficiency

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factor is further minimized when the Court considers that the punitive damages phase would take

less than one day to complete. Moreover, that factor is always a consideration in bifurcating trials,

but this Circuit nevertheless has espoused bifurcation as the “preferred method” because one extra

day of trial is a very small price to pay for ensuring a fair and impartial trial. Lastly, the risk of

this extra day of trial is not even guaranteed. That risk assumes that Plaintiff survives a directed

verdict application, and if so, secures a liability verdict and also proves entitlement to a punitive

damage award.

      Simply put, bifurcation of punitive damages in this matter is essential to ensure a fair and

impartial trial for the Defendants. Plaintiff is unable to demonstrate any rationale such that the

court should deviate from the preferred method of bifurcating punitive damages, and Defendants

submit any argument in opposition to bifurcation should be seen for what it is – a transparent

attempt to influence the jury’s determination on liability through introduction of ASR’s financials.

                                             POINT II

       AS A RESULT OF THE COURT’S BIFURCATING LIABILITY AND
       DAMAGES, PLAINTIFF SHOULD BE PRECLUDED FROM
       PRESENTING ANY EVIDENCE TO THE JURY REGARDING
       DEFENDANT ASR’S FINANCIAL INFORMATION

       Prior to a potential finding that punitive damages are applicable to ASR, any evidence of

ASR’s financial information should be precluded. Evidence of a defendant’s wealth or income is

“totally irrelevant to the issue of compensatory damages” and is therefore inadmissible under Rule

402. Burke v. Deere & Co., 6 F.3d 497, 513 (8th Cir. 1993); see Tyco Int’l Ltd. v. Walsh, No. 02-

cv-4633, 2010 U.S. Dist. LEXIS 79019, at *2 (S.D.N.Y. July 30, 2010) (denying discovery into

defendant’s finances and holding that “[a] defendant’s net worth is only relevant if there is a

finding that punitive damages should be awarded”).

       Such evidence is also inadmissible under Rule 403. It is unduly prejudicial because it “can

be taken as suggesting that the defendant should respond in damages because he is rich.” Reilly,

181 F.3d at 266 (internal quotation marks omitted); see Koufakis v. Carvel, 425 F.2d 892, 902 (2d
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Cir. 1970) (granting new trial in part because plaintiff’s counsel referred to defendant’s wealth,

net worth, and financial holdings); Smith v. Lightning Bolt Prods., Inc., 861 F.2d 363, 373–74 (2d

Cir. 1988) (noting that it is “prejudicial to a defendant to attempt to litigate its financial condition

during the trial on the issues of liability and compensatory damages”). Courts routinely exclude

in limine evidence of a defendant’s wealth and finances where as to issues of pure liability. See,

e.g., L-3 Commc’ns Corp. v. OSI Sys., Inc., No. 02-cv-9144, 2006 U.S. Dist. LEXIS 19686, at *21

(S.D.N.Y. Apr. 13, 2006) (barring argument and examination about defendant’s CEO’s wealth as

“clearly irrelevant” and “unfairly prejudicial”); In re WorldCom, Inc. Sec. Litig., No. 02-cv-3288,

2005 U.S. Dist. LEXIS 3144, at *2 (S.D.N.Y. Mar. 3, 2005) (barring all references to defendant’s

“net worth, financial situation, any entity that he owns, and his family’s wealth”).

        Here, as set forth more fully above in Point I infra, it is clear that ASR’s financial

information is wholly irrelevant to the determination of liability. Moreover, even if such evidence

had any probative value on the issue of liability (which Defendants submit it does not), such

probative value would be heavily outweighed by the extraordinary prejudicial effect. As such,

Plaintiff should be entirely precluded from referencing ASR’s financial information during the

liability and compensatory damages portion of the trial.

                                          CONCLUSION

        Based on the foregoing, Defendants respectfully request that this Court bifurcate punitive

damages from the liability and compensatory damages portion of the trial and preclude Plaintiff

from making any reference to ASR’s financial information during the liability and compensatory

damages phase of the trial.




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March 22, 2018                           /s/ Michael T. Hensley, Esq

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